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COMPLA|NANT(S|_STATEMENT§Sl

Officer Scott Pinto GRU

On November 6, 2013, Ofticer Soott Pinto provided an audio recorded statement
to Agent Brad Wagner of the internal Affairs Division (IAD) and the following is a
synopsis of his statement: (Attachment 3)

o Offioer Pinto stated that he was on-duty with Otfic rs Clifiord and Roe
conducting gun interdiction in the Sixth District. 0 icer Pinto stated that
he was driving the vehic|e, Officer Clifford was se ted in the front
passenger seat and Ofiicer Roe was seated behi Ofiicer C|ifford in the
rear passenger seat.

    
 
 
 
 

o Officer Pinto stated that as they entered the 5100 lock of C Streetl
Southeast, they observed "No Trespassing" signs in front of 5117 C
Street, Southeast. thcer Pinto also stated that a occupied vehicle was
illegally parked in front of that location with the en ine nmning and in
violation of the window tint |aws.

o Officer Pinto stated that he pulled behind the vehi le and activated his
emergency lights. thcer Pinto stated that he roll d down the passenger
window and observed two (2) males, one (1) whic was Ofl`icer Robinson,
who was dressed in civilian attire and sitting on a etaining wall in front of
5517 C Street, Southeast.

o Ofticer Pinto asked Ofticer Robinson and the othe male if they lived there,
but they both looked at each other in a suspicious manner and did not
respond. Ofticer Pinto again asked Otficer Robin on and the other male if
they lived there and Officer Robinson replied, “No, you do not know what
is going on here” and then appeared as tf he was oing to run.

o Off`lcer Pinto stated that he exited the MPD vehicl to approach the driver
of the vehicle that .was parked beside the curb an observed the vehicle’s
driver talking with Ofticer Robinson and the other a|e sitting on the
retaining wali.

o Oft“icer Pinto stated that he conducted the traffic st p and Ofticers C|ifford
and Roe approached Officer Robinson and the ot er male.

o Offioer Pinto stated that after speaking with the dri er for approximately
ten (10) seconds, he observed Off`lcers C|ifford and Roe scuff|ing with
Ofl'”lcer Robinson. Ofiicer Pinto stated that he heard Ofiicer Robinson teti
Ochers C|ifford and Roe to get off him and he saw him (Officer Robinson)
flaiiing his aims around, white Officer Ciifford attempted to handcuff him.

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o Officer Pinto stated that he told the driver to stay in his vehicle and then he
went to assist Officers Clifford and Roe. Officer Pinto stated that he heard
thcer Robinson say, “You are not touching my gun."

c thcer Pinto later stated that once he heard Officer Robinson, he
immediately assisted Oflioers Clifford and Roe to handcuff Officer
Robinson and he observed Officer Robinson’s service pistoi in a holster.
Officer Pinto stated that Officer Robinson then said that he was a MPD
Oflicer.

o Ocher Pinto stated that they unzipped Officer Robinson’s jacket, but
Officer Robinson totd them several times that they were not taking his gun.
Officer Pinto stated that Officer Roe removed Officer Robinson’s service
pistol from the holster and Officer Robinson replied, “Vou fucked up nowi
l'm going to sue you. That's what | do."

o Officer Pinto stated that he immediately notified Sergeant Curt Sloan via
police radio and requested him to respond to the scene. Officer Pinto
stated that they stood by with Officer Robinson, who was still handcuffed
until Sergeant Sloan arrived on the scene.

~ Officer Pinto stated that Officer Jeremy Sha rpton reported to him that
Officer Robinson stated, “l know l fucked up. My brothers got into a tight.
l did not want to have to lock one (1) of them up and that is why l am in a
bad mood."

o Ofltcer Pinto stated that Officer Robinson appeared to be very “cocky"
while on the scene.

o Officer Pinto later added that they initially handcuffed thcer Robinson
because Officer Robinson was wearing a puffy jacket while sitting back
with his arms crossed while inside of his jacket.

o Officer Pinto reported that Officer Clifford told thcer Robinson that he
needed to see his hands and asked him to stand up, but Officer Robinson
replied, l’m not standing up." Officer Pinto stated that Oflicer Clifford told
Officer Robinson that he needed to stand so he could frisk him, but Ocher
Robinson replied, “No and stood up."

o Officer Pinto later stated that Ocher Clifford told him that Officer Robinson
had a heavy jacket on, showed the felony yarn and showed the
characteristics of being very suspicious `IOflioer Pinto explained that the
area was a high drug and crime area.

 

2 A query from the Office of Unif“led Communications indicated that there were twenty-two (22) calls for
service in the 5500 block ofC Street Scutheast between 05!01)'2013 and llf07f2013.

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Officer Pinto stated that the driver of the vehicle was arrested for No
Permit.

Officer Pi nfo stated that Officer Clifford initially made first contact with
Officer Robinson.

Officer Pinto later stated that he initially dealt with the driver of the vehicle
until Officer Robinson pulled away. Officer Clifford placed thcer
Robinson’s hands behind his back and added that he (Off"lcer Pinto),
Officers Clifford and Roe attempted to handcuff him.

Officer Pinto stated that Officer Robinson flailed his arms, preventing
Officer Clifford from handcufhng him.

When asked, Officer Pinto stated that Officers Clifford and Roe contacted
Officer Robinson because he was wearing a jacket and they felt that
Ocher Robinson could be armed and they wanted to conduct a protective
pat down. Officer Pinto also stated that Officer Robinson was
uncooperative

Officer Pinto stated that Officer Clifford asked Officer Robinson if he had a
weapon on him and Officer Robinson replied in a cocky manner, “yeah” at
which time, Officer Clifford turned Officer Robinson around to handcuff
him.

When asked, Officer Pinto indicated that Officer Robinson stated that he
had a gun on him before he stated that he was a police officer. He stated
that Officer Robinson did not identify himself as a police officer until they
were ready to handcuff him.

Officer Pinto stated that Officer Robinson told them to get off his gun.

thcer Pinto later stated that he rushed to get Officer Robinson
handcuffed after hearing him say he had a gun. Officer Pinto stated that
after hearing him confirm that he had a gunl they immediately attempted
to handcuff Officer Robinson and that is when Officer Pinto heard Officer
Robinson say that he was a MPD Officer.

Officer Pinto stated that Officer Robinson was carrying his service pistol in
an issued MPD holsterl but not the administrative holster.

Officer Pinto stated that Officer Robinson said, "Fuck'il a few times and, "|
am going to sue you.“ Officer Pinto stated that neither he, Officer Clifford
nor Officer Roe used profanity during their encounter with Officer
Robinson.

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o Officer Pinto stated that Officer Robinson should have identified himself as
a MPD Officer immediately and that he (Oflicer Robinson) did not have
any MPD identifiers on his person that he could see.

o Officer Pinto stated that Officer Robinson should have identified himself
because they did not need a friendly fire incident Officer Pinto stated that
he thought that Officer Robinson was unprofessional and he put himself in
a dangerous situation.

officer Maurice Clifford GRU

On November 6, 2013, Officer Maurlce Clifford provided an audio recorded
statement to Agent John Hendrick of the lAD. The following is a synopsis of his
statement (Attachment 4)

o Officer Clifford stated that he along with Officers Pinto and Roe were in
the 5500 block of C Street, Southeast, operating a gray Ford Exp|orer with
tinted windows and F|orida tags.

o Officer Clifford stated that as they approached 5517 C Street Southeast,
they observed two (2) subjects3 seated on a retainer wallin front of that
location. Officer Clifford stated that he also observed that the residence
appeared to be vacant and it had, “No Trespassing" and “Private Property"
signs posted.

o Officer Clifford stated that Offlcer Pinto stopped the vehicle, pulled within
about ten (‘i 0) to fifteen (15) feet of them, rolled the window down and
asked them if they lived there. Officer Clifford again asked the male if he
lived there and he said, “No."

o Officer Clifford stated that Officer Pinto asked Officer Robinson if he lived
there and he said, "No," but that he lived in the block.

o Officer Clifford stated that he and thcers Pinto and Roe exited the
vehicle to conduct a contact on Officer Robinson and the other maie.
Officer Clifford stated that once he opened his car door, Officer Robinson
quickly stood up as if he was about to run.

o Officer Clifford stated that he told Officer Robinson to stop and Officer
Robinson asked him, who he was talking to and Officer Clifford advised
Officer Robinson that he was talking to him. Officer Robinson replied, "l
know you are not talking to me like that" and Officer Clifford stated “Yes, |
am talking to you.

 

3 One of the subjects was Officer Robinson.

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¢ Officer Clifford stated that based on his observations of Officer Robinson
by getting up quickly and sitting back down and putting his hands in his
jacketl he (Oflicer Clifford) moved into close the distance on him in case
he had to engage in a pursuit

o - Officer Clifford stated that he did not use any derogatory language or
unprofessional words towards Officer Robinson, but he thought that
Officer Robinson was being, " ignorant" and had attitude.

a Officer Clifford indicated that he was wearing a shirt with the words,
“POLiCE” on the sleeves, a tactical vest with the word “POL|CE” on the
front and back and his MPD badge was affixed. Officer Clifford stated that
Officer Roe was attired the same as he wasl but with a black vest with
yellow writing that said "POL|CE” on the front and back. Officer Clifford
stated that Officer Pinto was wearing a black and white vest.

c Officer Clifford later stated that Oflicer Robinson jumped up, and at that
point he walked up to him and said stop. Officer Clifford stated that Officer
Robinson asked him who he was talking to and Oflicer Ctifford advised
Officer Robinson that he was talking to him.

o Officer Clifford stated that when he walked up to Officer Robinson and
again asked him if he lived there, Officer Robinson replied, “i just told you
that l don’t live here, but what does it matter’? l live in the block.

o Officer Clifford stated that he informed Officer Robinson that there were
private property signs posted and if he did not live there, he needed to
move on, but Officer Robinson replied, “| don’t have to do shit that you
Say-”

o Officer Clifford stated that he told Officer Robinson that he could not see
his hands and asked him to show his hands for safety purposes, but
Officer Robinson said, “i’m not doing shit that you have to say. l’m not
doing like a motherfucking thing. “

o Officer Clifford later stated that based on Officer Robinson jumping up
quickly as if he were about to flee, immediately concealing his hands and
not knowing that he was a police oflicer, he {Officer Clifford) believed that
thcer Robinson was giving the characteristics of an armed gunman or of
a person trying to conceal an object

o Officer Clifford stated that Officer Roe asked thcer Robinson why he was
giving them so much attitude and asked him if he had a weapon on him.
Officer Robinson saidl “Yeah." Officer Clifford explained that he could not
see Mr. Robinson’s hands so he grabbed thcer Robinson.

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o Officer Clifford stated that they tuss|ed with Officer Robinson and when he
observed his service pistol, he turned him over and attempted to handcuff
him. Officer Clifford stated that when he got one (1) of the handcuffs on,
Officer Robinson said, “| am the police, y’al| fucked up, and y’all fucked
up."

o thcer Clifford stated that he did not see any identification and he
continued to handcuff Officer Robinson.

» Officer Clifford stated that once he secured thcer Robinson in handcuffs,
Officer Robinson was lying on his stomach with his jacket pulled back.
This is when Officer Clifford observed Officer Robinson’s service pistol.

o Officer Clifford later stated that Officer Robinson did not identify himself as
a police officer until he was handcuffed

o Officer Clifford stated that he instructed Officer Roe to remove the service
pistol from the holster for their safety and secured the weapon in their
vehic|e.

o Officer Clifford stated that he turned Officer Robinson back over and let
him sit He stated during this time Officer Robinson stated that they were,
‘fucked up" and that he wou|d, “sue" them.

o Officer Clifford stated that he told Officer Robinson that he had taken this
to an unnecessary level and that Officer Robinson could have identified
himself earlier.

o Officer Clifford described Officer Robinson’s behavior as hoste|,
confrontational and unprofessional and added that he acted as if he was
trying to challenge them into something

o Officer Clifford stated that Officer Robinson’s demeanor changed before
the officials arrived on the scene and he definitely became humble. Officer
Clifford indicated that Officer Robinson subsequently acknowledged that
he was wrong and related that he had a fight with his brother and that it _
was a bad day. Officer Robinson also said that he should have said
something to him, that he screwed up and asked Officer Clifford if he
could work with him and help him out, but Officer Clifford advised him that
it was too late for that

o Officer Clifford indicated that Officer Robinson remained handcuffed until
the officials arrived on the scene and that he did not use any other force.

¢ Officer Clifford stated that Officer Robinson asked him what's going to
happen and he advised that the officials would figure it out

Jama|Robinson v DCDDDO27

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Officer Ryan Roe GRU

On November 6, 2013, Officer Ryan Roe provided an audio recorded statement
to Agent George Sing|etary of the lAD and the following is a synopsis of his
statement: (Attachment 5)

» Officer Roe stated that they were on patrol on C Street, Southeast, and
that Officer Pinto was driving, Officer Clifford was the front passenger and
he was sitting in the rear. Officer Roe stated that they were operating an
unmarked Ford Explorer with the emergency tights on the dashboard and
F|orida tags displayed on the rear of the vehicie.

» Officer Roe stated that they observed a house that appeared to be vacant
with a “No Trespassing" sign and two §2) signs that said, “Posted Private
Property." Additionally, two (2) males were sitting on the retainer wall of
the property.

o Officer Roe stated that they stopped in front of Officer Robinson and the
other male. Both stated at them and appeared to be nervous. Officer
Roe stated that Officer Pinto yelled through the windowl “l-ley, police, you
guys live here?” Officer Roe stated that the other male responded , “No”
and then stated, “You know l, l live in the block,” or something like that

» Officer Roe stated that Officer Robinson appeared as if he were going to
flee the scene, so they decided to conduct a "contact" on them.

¢ Officer Roe stated that as they were exiting their vehicle, Officer Robinson
jumped up right away like he was going to run. Ofdcer Roe stated that
Officer Robinson was not dressed in a manner that would indicate that he
was a police officer. Officer Roe stated that they had never met Officer
Robinson before and that they did not know who he was.

» Officer Roe stated that Officer Clifford told Officer Robinson not to run and
Officer Robinson replied, “Who are you talking to? You can‘t talk to me
that way." Officer Roe stated that Officer Robinson sat back down on the
wall and Officer Clifford approached him (Oflicer Robinson).

o Officer Roe stated that he approached the other guy, who seemed very
nervous. Officer Roe stated that he questioned him briefly, asked him if
he lived on the property and why he was there. The male stated that he
was just walking by and sat down on the wall1 because he was tired.
Officer Roe then asked him if he had any weapons or drugs.

 

4 One of the males was later identified as Officer Jamal Robinson.

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o Officer Roe stated that he saw Officer Citfford interacting with Officer
Robinson and heard verbal hostility coming from Oflicer Robinson. Officer
Roe stated that after he finished patting down the individual he had
stoppedl he assisted Officer Clifford.

- officer Roe stated that he hearc'i oiiieer clifford explain re oriieer
Robinson that he was on private property and that he was going to check
_ him for weapons, but Ocher Robinson continued to argue.

o Officer Roe asked Officer Robinson if he had a gun and he replied, "Yes."
Officer Roe stated that he and Oflioer Clifford briefly paused to see what
Officer Robinson was doing and then Oftioer Roe figured that Officer
Robinson definitely had a gun. Officer Roe stated that they grabbed
Oflioer Robinson’s arm and placed him in handcuffs to secure hlm.

o Officer Roe stated that Ofticer Robinson asked them what they were doing
as he kept trying to get up. Officer Roe stated that he and Officer Ciifford
struggled a little bit with Officer Robinson and then they both placed him
into an arm bar and rolled him on his stomach

¢ Officer Roe stated that Officer Robinson was rolled onto the grassy area
of the front yard onto his stomach. Officer Roe stated that they
handcuffed Ofncer Robinson and he yelled outl “Hey. you guys fucked up.
l am a police officer and my credentials are in my pocket."

o Officer Roe stated that Officer Robinson was still struggling with them
while they were handcuffing him. Officer Roe stated that Officer
Robinson’s shirt moved and it exposed his service pisto|.

¢ Officer Roe stated that Ocher Robinson also said during the interaction
that, “You know you guys fucked up. l'm going to sue you. That's what |
do." Officer Roe stated when Officer Robinson was secured, he took his
gun out his holster, and secured it while Officer Clifford requested
Sergeant Sloan to respond to the scene.

» Officer Roe stated that he put Officer Robinson’s gun in a brown paper
bag and secured it in the MPD vehicle until Sergeant Sloan took
possession of it.

o Officer Roe stated that Officer Clifford learned that Oftioer Robinson lived
in the same block of this incident. 5

 

5 Officer Robinson lives in the 3700 block of Hornor Place, Southeast Washington, D.C.

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~ Officer Roe iater stated that based on his experience, often times when
they contact persons who are in possession of firearms and they admit
that they are in possession of a firearm, they are usually cooperative.

o Officer Roe stated that right before they put the handcuffs on thcer
Robinson, he identihed himself as a police officer and advised that his
credentials were in his pocket.

o Officer Roe stated that Officer Pinto identilied himself, “Hey, police," and
engaged in a conversation with Officer Robinson.

¢ Officer Roe stated that it was a few more seconds before they actually
exited the vehic|e. Ofncer Roe stated that they were dressed in
plainclothes with tactical vests with "POLlCE” in the front and back of the
vests. Officer Roe stated that all cf his police equipment was intact
except his badge, which was tucked underneath his vest. Oflicer Roe
stated that Officer Clifford was dressed in the same indentifying attire with
his MPD badge displayed and Officer Pinto was dressed in the same
attire, but he was not sure if Officer Pinto’s MPD badge was displayed

» thcer Roe stated that they did not identify the black male that was sitting
on the wall with Officer Robinson. Officer Roe indicated that due to the
commotion, the other individual was able to leave.

WlTN ESS CANVASS

Agent Leon Epps canvassed the area and interviewed two (2) witnesses to the
event, Mr. Lymar Curry of 5513 C Street, Southeast, and Mr. Marquette Austin of
5514 C Street, Southeast.

POLICE WlTNESS STATEMENT§S[

Sergeant Curt Sloan GRU

On March 1, 2014 Sergeant Curt Sloan provided an audio recorded statement
to Agent Eames of the |AD and the following is a synopsis of his statement:
(Attachment 6)

o Sergeant Sloan stated that he was requested to respond to the front of
5517 C Street, Southeast, for an altercation with a First District Officer
Robinson.

o When Sergeant Sloan arrived on the scene, Officer Robinson was sitting

on a wali and his demeanor seemed fine.

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¢ Sergeant Sloan stated that he had been advised that Officer Robinson
refused to make his identity known when asked by Officers Cliffordl Roe,
and Pinto and after he was directed to stand up1 he told the officers he
was not doing anything and refused to comply with their directives

¢ Officer Robinson also failed to inform the officers that he was an armed
officer untii they started to handcuff him.

o Sergeant Sloan stated that Officer Robinson was released from handcuffs
approximately twenty (20) minutes after he arrived on scene.

C|VIL|AN W|TNESS STATEMENT[Sl
Mr. Lmar Cugy 5513 C Street, Southeast

On November 6, 2013, Mr. Lymar Curry provided a statement to Agent Leon
Epps cf the lAD. The following is a synopsis of his statement: (Attachment 7)

Mr. Curry stated that several people were sitting outside his residence making a
lot of noise as usual. Mr. Curry stated there were three (3) or four (4) police
officers and six (6) cr seven (7) citizens out there. Mr. Curry stated the gentlemen
the police had detained appeared to be resisting Mr. Curry stated words were
going back and forth between the citizens and the oflicers. Howeverl he could
not hear what they were saying.

Mr. Marguette Austin 5414 C Street, Southeast

On November 6, 2013, ivlr. Marquette Austin provided statement to Agent Leon
Epps of the |AD. The following is a synopsis of his statement (Attachment B)

Mr. Austin stated that he has known Officer Robinson since he was a little boy.
Mr. Austin S'tafed that Officer Robinson Was sitting on the well in front of 5517 C
Street, Southeast, taiking to his brother, lv‘|r. Lamont Brown, when the police
pulled up in a vehicle with dark tinted windows and a F|orida registration

Mr. Austin stated that when the officers exited the vehicle, he heard Officer
Robinson say something like, "| do this everyday, l do this for a living." Mr.
Austin stated he doesn’t know what the officers said next. However, Officer
Robinson said something like l have my gun, badge, and lD on me.

Mr. Austin stated that the officers then shouted, "Gun, Gun" and started to rough
up Officer Robinson. Mr. Austin stated that thcer Robinson told the officers the
entire time that he had a badge and lD, but the officers kept shouting, “Stop
resisting." Mr. Austin stated in his opinion tvtal was not resisting. Mr. Austin

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stated they kept Mal handcuffed over an hour after they knew who he was.
Last|y, Mr. Austin stated he did not hear anyone use profanity. 6

Mr. Lamont Brown 13426 Deben Tree Way,
Germantown, Marytand 20874

On November 6, 2013, lvlr. Lamont Brown provided an audio recorded statement
to Agent Michae| Eames of the lAD. The following is a synopsis of his statement
(Attachment 9) i

o Mr. Brown stated that his brother7 was sitting on the wali discussing an
incident that happened earlier when a truck pulled up with tinted windows
and the occupants8 asked Officer Robinson where he lived.

o Mr. Brown stated that Officer Robinson responded, “No" and the officers
got cut the car, asked them why they were there and asked them to show
their hands.

o Mr. Brown indicated that Officer Robinson told the officers that they were
just sitting on the wetland then asked them if it was illegal to sit on the
wa|l. Mr. Brown stated that Officer Robinson did not stand up.

o Mr. Brown stated that the officers informed them that they were sitting on
a wall with a, "No Trespassing” sign behind them and Officer Brown
replied that they were just sitting there.

o Mr. Brown stated that Officer Robinson identified himself, something to the
affect of, "l'm MPD” and that after he identified himself, the officers were
on top of thcer Robinson and he (Mr. Brown) turned around and grabbed
his camera

o Mr. Brown stated that the officers told Officer Robinson to stop resisting,
but Mr. Brown explained that Officer Robinson was not resisting, because
his hands were already behind his back.

o Mr. Brown stated that the officers then got up and asked Officer Robinson
if he had a gun before they asked him was he MPD.

o Mr. Brown stated that he resumed the incident

¢ Mr. Brown indicated that the officers said that Officer Robinson resisted
and that he should have identified himse|f.

 

f Mai is the niememe er omeer meal xebineee
"' Mr. Brown’s brother is Officer Jamal Robinson and the defendant in the no permit arrest
s Officch Pinto, Clifford and Roe.

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JamalRobinscn v D0000032

 

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o Mr` Brown stated that Officer Robinson had his badge on him and the
badge was visible.

» Mr. Brown stated that he and Officer Robinson had been involved in an
argument earlier in the day over mechanical repairs and the cost of the
repairs and that they were just talking

- Mr. Brown stated that while Officers Pinto, Clifford and Roe were in their
vehicle, he could not tell that they were police officers Mr. Brown stated
that the windows on their vehicle were tinted. Mr. Brown stated that he
thought they were just, “regular dudes coming up." Mr. Brown stated that
after they got out of the vehicle, he could see that they were the police.

o Mr. Brown stated that he heard the officers ask, “Do you live there?”

o Mr. Brown stated that they said they “made a traffic stop on me," but
nobody came to me. Everyone went to Officer Robinson like he was
doing something wrong. The officers approached and everything went
wild.

lNVOLVED OFF|CERlSj STATEMENT‘S[

Officer Jama| Robinson First District

On November 7, 2013, Officer Jamal Robinson provided an audio recorded
statement to Agent Eames of the lAD. The following is a synopsis of his
statement (Attachment 10)

Officer Robinson stated that while sitting outside on a wall speaking to his brother
about a family incident that had occurred earlier in the day, a truck pulled up and
someone relied down the window.

As they" were talking, they got out of the truckl approached him and told him to
stand up- Officer Robinson asked why and they again told him to stand up.
Officer Robinson told them no and again asked them why. The officers again
told him to stand up and said, "This is a order” and Officer Robinson told them
that he was not standing up.

The ofhcers then asked him (Officer Robinson) if he had any weapons on him
and he replied, "Yeah, l do. l have my gun, my badge and my credentia|s."

Officer Robinson stated that as soon as he stated he had his gun and badge, an
officer immediately tackled him and attempted to handcuff him. Officer Robinson
told the officers that he was MPD. Officer Robinson indicated that another officer
came over and put his knee in his (Officer Robinson) neck. Officer Robinson

 

9 Later identified as officers Pinte, cutters ana Ree.

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explained that all three (3) officers attacked him. but he did not resist Officer
Robinson explained that he was rolled over and was sitting on his credentials
because they were in his rear pocke . Officer Robinson indicated that he told the
officers that his credentials were in his pocket.

Officer Robinson stated that the officers requested their officials to respond to the
scene.

Officer Robinson stated that he recognized Officer’s Pinto, Clifford and Roe as
the poiice when they exited their unmarked vehic|e.

Officer Robinson stated that the officers anested his brother for a suspended
license even though he wasn’t driving the vehicle and waited for the officials to
respond to the scene.

On March 9, 2014, Officer Jamal Robinson provided a supplemental audio
recorded statement to Agent Eames of the lAD. The foliowing is a synopsis of his
statement (Attachment 11)

o Officer Robinson stated that he did not say that he did not have to do shit
the officer said.

o thcer Robinson stated that he did not say, “l'm not doing shit that you
say and l’m not doing a motherfucking thing“.

o Officer Robinson stated that he did say that they had "fucked-up,” but did
not say he was going to sue.

o Officer Robinson stated that he told the officer that he was the police
before they handcuffed him.

o Officer Robinson stated that he did tell the officers that what they did was
“Fucked up" after he was handcuffed

o thcer Robinson stated that he complied with what the officer toid him to
do, but he felt that he was not doing anything, but sitting there on the wali.
Officer Robinson stated that it is not against the law to sit down in the
District of Columbia and he does not have to stand up for you to talk to
him.

o Officer Robinson stated that the on-duty officer is in charge when
confronting an off-duty officer. Officer Robinson stated that he was not
aware of the universal hand signal to recognize off-duty police officers.

. Ofiicer Robinson stated that from the time Officer Pinto, Clifford and Roe
exited their unmarked vehic|e, he recognized them as police officers.

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Jama|Robinson v D0000034

 

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Additionally, he stated it was approximately one (1) to three (3) minutes
passed before he was ha ndcuffed.

PHY§ICAL EVIDENCE SECT|ON

Mr. Brown video recorded the incident with his cell phone and provided a copy of
the video. (Attachment 12)

A query from the thce of Unified Communicaticns indicated that there were
twenty-two (22) calls for service in the 5500 block of C Street Southeast between
05101!2013 and 11107/2013. The call for service pertained to the following:
disorderly, stolen autos, domestic violence, hoid up alarm and thefts.
(Attachment 1 3)

D|SCREPANC|ES AND CLAR|FICAT|ONS

Suppiemental statements were not obtained from Officers Pinto, Clifford and
Roe. Officers Pintc, Clifford and Roe's statements were provided as
complainants in this investigation. However, there were inconsistencies with
their statements and the video footage of the incident, which is being investigated
under lS Number 13-003170. That investigation has been presented to the
USAO for criminal review, due to civil rights violation allegations made by Officer
Robinson.

What was Officer Robinson wearing?
Officer Robinson was wearing a green shirt, tan jeans, and a black jacket.
Did Officer Robinson use profane language?

Officers Pinto, Clifford and Roe all alleged that Officer Robinson used profanity
during this incident and made statements to the affect of, “l don’t have to do shit
that you say," "l'm not doing shit that you have to say” and "l'm not doing a
motherfucking thing. “ However, Officer Robinson only admitted to saying, What
ya'll did was fucked up."

UNITED STATES ATTORNEY'S OFFlCE REV|EW!REVERSE GARR|TY
_---_--______.._._________________

This case was not submitted to the United States Attomey’s Office because there
was no evidence of criminal misconduct on the part of Officer Robinson.

SUMMAR¥ AND CONCLUS|ON
On November 6, 2013, Officers Clifford, Pinto and Roe were on patrol in the

5500 block of C Street, Southeast. Officers Ciifford, Pinto and Roe are NSlD
members of the GRU. Officers Clifford, Pinto and Roe were operating an

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unmarked vehicle with no front tag and tinted out windows and they were
wearing plain clothes with Tactica| Vests with the word, "Po|ice" displayed across
the front and rear of their vests.

As Officers Clifford, Pinto and Roe entered the 5500 block.ot C Street Southeast,
they observed two people sitting on a retainer wall in front of the residence One
of the persons was later identified as off duty MPD Officer Jamal Robinson.
Officer Pinto believed that Officer Robinson was in violation of Unlawful Entry
because he was seated on a retaining wall of a property that had "No
trespassing” signs posted . thcer Pinto exchanged a few words with Officer
Robinson and decided to exit the vehicle along with his counterparts.

During the contact Officer Robinson did not identify himsetf, refused directives
given to him by on duty officers When Officer Robinson said he had a gun, he
had not yet indentified himself as an off duty MPD Officer. Subsequently, this
caused the GRU Officerto act in response to the seriousness of his actions and
take Officer Robinson to the ground rendering the scene safe. Furthermore, it
was reported that Officer Robinson was activer resisting during the handcuffing.

After exiting the vehic|e, Officer Clifford became the primary contact officer in the
communication with Officer Robinson. Officer Clifford stated that the incident
started out as a “contact" and he told Officer Robinson to stop because he
thought that he was about to run away.

Officer Robinson indicated that he did not know that Officers Clifford, Pinto and
Roe were police officers when they first pulled up because they were utilizing an
unmarked vehicle with tinted windows and no front tag.

During this event, Officer Robinson was asked if he had a gun on him and he
replied that he did. thoer Robinson was immediately handcuffed and restrained
Officer Robinson stated that after acknowledging that he had a gun, he indicated
that he had a badge and |D. Due to Officer Robinson indicating that he had a
weapon, Officers Pinto, Clifford and Roe immediately secured Officer Robinson.

F|NDINGS

lt is the findings of this Agent that Officer Robinson was sitting on the fringe of an
abandoned property, when he was stopped by NSlD, GRU members ln the
Distn°ct of Columbia, the sidewalk and steps of private residences are considered
public property. Officer Robinson did not appear to be in violation of any laws.

When questioned by the on duty MPD members as to if he was armed, as a
active armed MPD officer when first approached, Officer Robinson “shou|d have"
done more to make his identity known.' insteadl he first related to the officers
that he was in fact anned, which caused them to immediately react. After he
was secured, Officer Robinson advised that he was an MPD officer.

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in addition. Officer Robinson admittediy used profanity towards the GRU
members on the scene of the incident

RECOMMENDAT|ONS

lt is the recommendation of the internal Affairs Division that the facts and
circumstances surrounding this investigation regarding the allegation of Officer
Misconduct, by Officer Jama| Robinson, when approached by members of the
NSID, GRU, on November 6, 2013, be classified as SUSTAINED.

lt is the recommendation of the lntemal Affairs Division that the facts and
circumstances surrounding this investigation regarding the allegation of Officer
Misconduct, Orders and Directives when he used profanity after being stopped
by Officers Pintol Clifford and Roe, be classified as SUSTA|NED.

MlSCELLANEOUS

Before completion of this final report, the undersigned agent had a preliminary
conference with Lieutenant Norman Power of the lntemal Affairs Division.
Lieutenant Power concurred with the findings and recommendations

Michae| Eames Sr.
Agent
lntema| investigations Team ll

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